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                                             United States Bankruptcy Court
                                                         For The
                                              Western District Of Kentucky

IN RE:                                                      )
    CRYSTAL G CHARLSON                                      )
                                                            )                 Case No.
                                                            )                 19-11037
               Debtor                                       )
                                                            )
                                                  Order of Confirmation

     A Plan Under Chapter 13 of Title 11 and application for confirmation having been duly filed,
creditors having been notified, and it appearing that said plan complies with provisions of Section 1325
of said chapter,

    IT IS HEREBY ORDERED that said plan is confirmed.

   IT IS HEREBY ORDERED that the trustee,                William W. Lawrence, collect          a   payment     of   $163.00
SEMI-MONTHLY for a period of 60 months from the Debtor, and distribute the funds as follows:

     1) JOHN ROGERS ATTY, attorney for the Debtor, is awarded a fee in the amount of $3,750.00 to be
paid as follows: $1,500.00 with the first disbursement to the secured creditors and $200.00 per month
until paid in full.

    2)     Secured creditors shall be paid before priority creditors, who shall be paid before unsecured
creditors. Monthly payments to secured creditors will be determined on a pro-rata basis by the trustee,
unless otherwise indicated below. The following secured and /or priority claims are hereby allowed:

    Creditor                                            Secured                                    Unsecured

#3 Riverside Loans                                $100.00                                          $4,850.02
PO Box 58                                         no interest
Burkesville KY 42717
                                    *** ALL STUDENT LOANS PAID OUTSIDE PLAN ***

#5 Ally Bank                                      $11,236.24
PO Box 78367                                      7% interest
Phoenix AZ 85062



                                                                                                        60 months/2.00%
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      3) Payment will be made on pro-rata basis to unsecured creditors, whose claims are filed and
allowed, until such claims are paid at the proposed percentage. The plan is presently proposed at
2.00% ; however, the percentage for any plan less than 100% may increase upon the filing of the
schedule of allowed claims.
      IT IS FURTHER ORDERED that the Debtor's attorney examine unsecured claims and file a schedule
of allowed claims by no later than January 10, 2020. The schedule will reflect the percentage increase
should the unsecured claims filed and allowed require an increase in the percentage paid to unsecured
creditors. All objections to unsecured claims filed but not allowed must be filed prior to the same date.
      IT IS FURTHER ORDERED that any Debtor paying less than 100% to unsecured creditors submit
copies of federal and state income tax returns, execute an assignment of federal and state income tax
refunds to the Chapter 13 trustee, and submit a current income and expense statement annually,
before May 15 of each year of the plan, pursuant to the local rules.
      IT IS FURTHER ORDERED that the Debtor be restrained from disposing of any property, in any
manner whatsoever, without prior approval of this Court, and to promptly report to this Court any
destruction of said property.
      IT IS FURTHER ORDERED that the Debtor be restrained from incurring any new indebtedness or
financial obligations without permission of this Court, except for hospital, medical or dental expenses.
      IT IS FURTHER ORDERED that, if any governmental entity has filed a proof of claim showing unfiled
tax returns, the Debtor shall file or otherwise satisfy the filing requirements relating to the unfiled
returns within 90 days from the date of entry of this order.
      IT IS FURTHER ORDERED that, except as provided for in the Debtor's plan, no creditor holding a
debt subject to discharge under Section 1328(a) shall be entitled to any late charges, interest,
penalties, additional attorney’s fees or fees of any kind or nature without further Order of this Court.
No creditor holding a debt subject to discharge under Section 1328(a) shall be allowed after the
Debtor's discharge to add any late charges, interest, penalties, additional attorney’s fees or fees of any
kind or nature arising after the entry of the Order for Relief and before the Debtor's Discharge except
as provided for in the Debtors’ plan or by Order of this Court.
      IT IS FURTHER ORDERED that, the Debtor's plan payments shall commence within thirty (30) days
of filing the petition. The attorney for the Debtor shall fully escrow all pre-confirmation plan payments
as required by Local Rule 13.4 and 11USC 1326. If the attorney for the Debtor fails to turnover all
pre-confirmation money to the Trustee within ten (10) days of confirmation, the Trustee is directed to
file a motion to dismiss this Chapter 13, and the Court shall then enter an order dismissing this case
immediately.       In the event of any unauthorized default in payments by the Debtor, the trustee is
directed to promptly report such default to this Court and upon the filing of such report, this Court shall
set a hearing for show cause as to why the Debtor's petition should not be dismissed. This
Confirmation Order constitutes a finding that all requirements of Section 521(a)(1)(B) and 521(e)(2)(A)
(i) have been met.
      A copy of this order is sent to the Debtor; to the attorney for the Debtor; to the trustee, William W.
Lawrence; and to all creditors.




                                                      Dated: November 22, 2019
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PREPARED BY THE OFFICE OF
WILLIAM W. LAWRENCE, TRUSTEE   KS   11/21/2019
